                Case 25-50287-KBO           Doc 10-1      Filed 07/09/25   Page 1 of 1




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                              Chapter 7

 AKORN HOLDING COMPANY LLC,                          Case No. 23-10253 (KBO)
 et al
                 Debtors.                            (Jointly Administered)

                     CERTIFICATE OF SERVICE REGARDING
           AMENDED NOTICE OF AGENDA FOR HEARING SCHEDULED FOR
             JULY 10, 2025 AT 11:00 A.M. (PREVAILING EASTERN TIME)

          I, John T. Carroll, III, counsel to George L. Miller, in his capacity as Chapter 7 Trustee in

the above-captioned matter, hereby certify that on July 9, 2025 the Amended Notice of Agenda of

Matters Scheduled for Hearing on July 10, 2025 at 11:00 a.m. ET (the “Notice”) was

electronically filed with the Court using the Court’s Case Management/Electronic Case Files

System (CM/ECF).           Notification of filing the Notice was received by way of electronic service

via a Notice of Electronic Filing (NEF) through the Court’s CM/ECF system on the registered

participants in the above-captioned matter.

Dated: July 9, 2025                                           COZEN O’CONNOR
Wilmington, Delaware
                                                        By:   /s/ John T. Carroll, III
                                                              John T. Carroll, III (DE No. 4060)
                                                              1201 N. Market Street
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                                                              Chapter 7 Trustee




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07/09/2025
